

Iacovacci v Brevet Holdings, LLC (2022 NY Slip Op 07190)





Iacovacci v Brevet Holdings, LLC


2022 NY Slip Op 07190


Decided on December 20, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 20, 2022

Before: Manzanet-Daniels, J.P., Singh, Scarpulla, Pitt-Burke, JJ. 


Index No. 158735/16 Appeal No. 16944 Case No. 2021-04672 

[*1]Paul Iacovacci, Plaintiff-Respondent,
vBrevet Holdings, LLC, et al., Defendants-Appellants, Douglas Monticciolo et al., Defendants.
Brevet Holdings, LLC, et al., Counterclaim Plaintiffs-Appellants, Douglas Monticciolo et al., Counterclaim Plaintiffs,
vPaul Iacovacci, Counterclaim Defendant-Respondent.


Reed Smith, LLP, New York (Louis M. Solomon of counsel), for appellants.
Cyrulnik Fattaruso LLP, New York (Jason Cyrulnik of counsel), for respondent.



Appeal from order, Supreme Court, New York County (Alexander M. Tisch, J.), entered on or about May 20, 2021, which, to the extent appealed from, granted plaintiff's motion for civil contempt against nonparty Greenberg Traurig LLP and held in abeyance pending a hearing the issue of civil and criminal contempt of defendants and criminal contempt of Greenberg Traurig LLP, unanimously dismissed, without costs, as taken from a nonappealable order.
The issues raised on appeal are not appealable as of right (see generally CPLR 5701[a]). The order on appeal did not "affect[] a substantial right" of defendants because it did not decide the motion for contempt as to them, instead holding it in abeyance pending a hearing (CPLR 5701[a][2][v]; see Goldin v Levy, 192 AD3d 478, 479 [1st Dept 2021]). Although the order encompassed a finding that the underlying conduct of defendants' counsel, from which defendants' potential liability derived, constituted contempt, "findings of fact and conclusions of law are not independently appealable" (Baez v First Liberty Ins. Corp., 95 AD3d 1250, 1250 [2d Dept 2012]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 20, 2022








